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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOSEPH RYAN
7
                               IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                      )   Case No. 2:15-cr-116 JAM
                                                    )
11                          Plaintiff,              )   DEFENDANT’S WAIVER OF
                                                    )   APPEARANCE; ORDER
12         v.                                       )
                                                    )
13   JOSEPH D. RYAN,                                )   DATE:          June 10, 2015
                                                    )   TIME:          2:00 p.m.
14         Defendant.                               )   JUDGE:         Hon. Dale A. Drozd
                                                    )
15
16           Pursuant to Rule 10(b) of the Federal Rules of Criminal Procedure, the defendant, Joseph
17   Ryan, hereby waives the right to be present in person in open court for arraignment. Mr. Ryan
18   has been charged by indictment. Mr. Ryan affirms that he has received a copy of the indictment
19   and that he wishes to plead not guilty and request a jury trial. Mr. Ryan acknowledges that he
20   has been informed of the charges, the penalties provided by law, and of his rights in this matter.
21   He seeks to waive his appearance in this matter because he is participating in WestCare in
22   Fresno, CA under pretrial services supervision. He was present for his initial arraignment on the
23   complaint, which addresses the same crime. He was informed by the Court of his rights and the
24   charges at that appearance. He asks the Court to accept this waiver.
25           The defendant further acknowledges being informed of his rights under Title 18 U.S.C.
26   §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and dates under that
27   Act without the defendant’s personal appearance.

28

       Waiver of Personal Appearance                 -1-                    US v. Ryan, et al. 15-cr-116 JAM
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1           The original signed copy of this waiver is being preserved by the attorney undersigned.
2    Dated: June 8, 2015
                                                           __s/ Joseph D. Ryan__________
3                                                          JOSEPH D. RYAN
                                                           Original retained by attorney
4
5
            I agree with and consent to my client's waiver of appearance. I have provided him with a
6
7    copy of the indictment and discussed his rights, the charges, and the statutory penalties with him.

8    I concur with his decision to waive his appearance and be arraigned without his personal
9    appearance.
10
     Dated: June 8, 2015
11
                                                           Respectfully submitted,
12
                                                           HEATHER E. WILLIAMS
13                                                         Federal Defender
14
                                                           __s/ Noa E. Oren______________
15                                                         NOA E. OREN
                                                           Assistant Federal Defender
16
                                                           Attorney for Defendant
17                                                         JOSEPH D. RYAN
18                                                ORDER
19
            Pursuant to Federal Rule of Criminal Procedure 10(b), the Court accepts Joseph D.
20
     Ryan’s waiver of appearance at arraignment.
21
     Dated: June 9, 2015.
22
23
24
25
26
27
28

      Waiver of Personal Appearance                  -2-                   US v. Ryan, et al. 15-cr-116 JAM
